                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TENNESSEE
                                  AT JACKSON

ANDERSON EYE CARE OF WEST                )
TENNESSEE,                               )
                                         )
      Plaintiffs,                        )
                                         )
v.                                       )   No. 1:23-cv-01047
                                         )   JURY DEMANDED
                                         )
AUTO OWNERS INSURANCE                    )
COMPANY, and MICHAEL KNIGHT,             )
                                         )
      Defendants.                        )


AUTO OWNERS INSURANCE COMPANY’S MEMORANDUM OF LAW IN SUPPORT
                ITS MOTION FOR PARTIAL DISMISSAL

      Comes now Defendant, Auto Owners Insurance Company (“Auto Owners”), by and

through its undersigned counsel, pursuant to Fed. R. Civ. P. 12(b)(6), and for its

memorandum of law in support of its Motion for Partial Dismissal of the Plaintiff’s

Complaint would respectfully state as follows:

                                 FACTUAL SUMMARY

      On or about February 17, 2023, the Plaintiff filed a civil action in the Chancery

Court for Weakley County, Tennessee against Auto Owners Insurance Company and

Michael Knight styled Anderson Eye Care of West Tennessee v. Auto Owners Insurance

Company and Michael Knight, Case No. 25551. Auto Owners was served through the

Tennessee Commissioner of Insurance on February 28, 2023. The action was timely

removed by Michael Knight from the Chancery Court for Weakley County, Tennessee to

the United States District Court for the Western District of Tennessee on May 19, 2023

on the basis of diversity jurisdiction. Michael Knight also asserted before this Court that
he was fraudulently joined, or attempted to be fraudulently joined, to this action as a

Defendant for the sole purpose of attempting to defeat diversity jurisdiction.

       Plaintiff has sued Auto Owners for various causes of action, including: 1) compel

appraisal and appoint umpire; 2) umpire qualifications; 3) breach of contract; 4) punitive

damages; and 5) violations of the Fraudulent Insurance Act (Tenn. Code Ann. § 56-53-

103). (See generally, Doc. 1-1.)

       Plaintiff’s allegations against Auto Owners regarding the Unlawful Insurance Act

(“the Act”) are pleaded in the Plaintiff’s Complaint as follows:

       20.    Defendants staff adjuster, Randall Wenzel, made false statements
       and material misrepresentations of facts and policy coverage terms to the
       insured and Plaintiffs insurance professional / practitioner, in his August 24,
       2022 letter … Wenzel knew at all times that there was no requirement the
       insured or insurance professional/practitioner provide a Proof of Loss, eight
       months past the date of loss, before agreeing to appraisal; nor was such a
       prerequisite to Defendants mandatory participation in the appraisal process
       after Plaintiff’s proper demand on August 8, 2022. Wenzel’s actions
       constitute violations of the Fraudulent Insurance Act found at §56-53-
       103(a)(1) and has wrongfully delayed or denied the payment of insurance
       benefits to Plaintiff.

(Doc. 1-1, at ¶ 20). These facts do not constitute violations of the Act because the portion

of the Act cited by Plaintiff does not apply to insurers; rather, it applies to insureds.

                                   LAW AND ARGUMENT

       A defendant may move to dismiss all or part of a lawsuit if the facts alleged in the

lawsuit fail to state a claim upon which relief may be granted. See Fed. R. Civ. P. 12(b)(6).

When evaluating a motion to dismiss for failure to state a claim, the Court must determine

whether the complaint alleges “sufficient factual matter, accepted as true, to ‘state a claim

to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). The Court “need not accept as true




                                               2
legal conclusions or unwarranted factual inferences, and conclusory allegations or legal

conclusions masquerading as factual allegations will not suffice.” D’Ambrosio v. Marino,

747 F.3d 378, 383 (6th Cir. 2014) (quoting Terry v. Tyson Farms, Inc., 604 F.3d 272, 275–

76 (6th Cir. 2010)). “[A] plaintiff's obligation to provide the ‘grounds’ of his ‘entitlement to

relief requires more than labels and conclusions, and a formulaic recitation of the

elements of a cause of action will not do.’” Id. (quoting Republic Bank & Tr. Co. v. Bear

Stearns & Co., Inc., 683 F.3d 239, 246–47 (6th Cir. 2012)) (emphasis added).

       To survive a Rule 12(b)(6) motion, a party must plead “enough facts to state a

claim to relief that is plausible on its face.” Twombly, 550 U.S. at 570; see also Chandler

v. Sec’y of Fla. Dep’t of Transp., 695 F.3d 1194, 1199 (11th Cir. 2012). The Supreme

Court has explained this standard as follows:

       A claim has facial plausibility when the plaintiff pleads factual content that
       allows the court to draw the reasonable inference that the defendant is liable
       for the misconduct alleged. The plausibility standard is not akin to a
       “probability requirement,” but it asks for more than a sheer possibility that a
       defendant has acted unlawfully.

Iqbal, 556 U.S. at 678 (2009) (citation omitted); see also Resnick v. AvMed, Inc., 693 F.3d

1317, 1324–25 (11th Cir. 2012). Thus, a claim will survive a motion to dismiss only if the

factual allegations in the pleaded are “enough to raise a right to relief above the

speculative level ….” Twombly, 550 U.S. at 555–56 (citations omitted). “[A] formulaic

recitation of the elements of a cause of action will not do.” Id. at 555 (citation omitted).

While all well-pleaded facts must be accepted as true and construed in the light most

favorable to the pleader, Powell v. Thomas, 643 F.3d 1300, 1302 (11th Cir. 2011), the

Court need not accept as true the pleader’s legal conclusions, including those couched

as factual allegations. See Iqbal, 556 U.S. at 678.




                                               3
A.     COUNT V SHOULD BE DISMISSED WITH PREJUDICE AS IT DOES NOT
       APPLY TO AUTO OWNERS

       Auto Owners seeks dismissal of the Plaintiff’s claims with respect to alleged

violations of the Act because the facts as pleaded do not amount to any violations of the

act by Auto Owners. The Act has two distinct sections with very different verbiage in each.

The first section cited by the Plaintiffs provides as follows:

       (a) Any person who commits, participates in, or aids, abets, or conspires to
       commit, or solicits another person to commit, or permits its employees or its
       agents to commit any of the following acts with an intent to induce reliance,
       has committed an unlawful insurance act:

              (1) Presents, causes to be presented, or prepares with knowledge or
              belief that it will be presented, by or on behalf of an insured, claimant
              or applicant to an insurer, insurance professional or a premium
              finance company in connection with an insurance transaction or
              premium finance transaction, any information that the person knows
              to contain false representations, or representations the falsity of
              which the person has recklessly disregarded, as to any material fact,
              or that withholds or conceals a material fact, concerning any of the
              following:

                     (A) The application for, rating of, or renewal of, any insurance
                     policy;

                     (B) A claim for payment or benefit pursuant to any insurance
                     policy;

                     (C) Payments made in accordance with the terms of any
                     insurance policy; or

                     (D) The application for the financing of any insurance
                     premium;

Tenn. Code Ann. § 56-53-103(a)(1). This portion of the Act cited above does not apply

because this section of the Act applies to insureds or policyholders, not insurers. This

portion of the Act makes it unlawful for any person who “presents, causes to be presented,

or prepares with knowledge or belief that it will be presented, by or on behalf of an insured,




                                              4
claimant or applicant to an insurer, insurance professional or a premium finance company

… any information that the person knows to contain false representations, or

representations the falsity of which the person has recklessly disregarded, as to any

material fact, or that withholds or conceals a material fact … concerning” and insurance

application, claim for benefits, payments made under a policy of insurance, or financing

an insurance premium.

       This portion of the Act only applies to persons presenting information by or on

behalf of an insured or claimant. Auto Owners nor its employee, Randall Wenzel, are

presenting any information by an insured or on behalf of an insured. Precedent clearly

supports the conclusion that the Act would not apply to these facts as pleaded even after

the Court must assume the facts to be true at this stage of pleading. See Cantrell v. Yates

Servs., LLC, 205 F. Supp. 3d 928, 933 (M.D. Tenn. 2016) (“Tenn. Code Ann. § 56-53-

103(a)[] … makes it unlawful for an insured person to ‘present[]. . . to an insurer . . . any

information that the person knows to contain false representations, or representations the

falsity of which the person has recklessly disregarded, as to any material fact, or that

withholds or conceals a material fact, concerning . . . [a] claim for payment or benefit

pursuant to any insurance policy.’”) (emphasis added.) See also, Allstate Life Ins. Co. v.

Tyler-Howard, No. 3:19-cv-00276, 2019 U.S. Dist. LEXIS 174591, at *7 (M.D. Tenn. Oct.

8, 2019); Craighead v. Bluecross Blueshield of Tenn., Inc., No. M2007-01697-COA-R10-

CV, 2008 Tenn. App. LEXIS 454, at *11 (Ct. App. July 31, 2008) (“Any insurer or

insurance professional who has reasonable belief that an act violating § 56-53-102 or

§56-53-103 will be, is being, or has been committed shall furnish and disclose any

information in such insurance professional's possession concerning such act to the




                                             5
appropriate law enforcement official or authority, insurance department, state division of

insurance fraud, or state or federal regulatory or licensing authority ….”) (emphasis

added); Monumental Life Ins. Co. v. Puckett, No. W2005-00083-COA-R3-CV, 2006 Tenn.

App. LEXIS 12, at *12 (Ct. App. Jan. 9, 2006); Hanover Am. Ins. Co. v. Tattooed

Millionaire Entm't, LLC, Civil Action No. 2:16-cv-2817, 2021 U.S. Dist. LEXIS 258210, at

*12 (W.D. Tenn. Sep. 21, 2021); UnitedHealthCare Servs. v. Team Health Holdings, Inc.,

No. 3:21-CV-00364-DCLC-JEM, 2022 U.S. Dist. LEXIS 84264, at *22 (E.D. Tenn. May

10, 2022).

       This section of the Act cannot apply to Auto Owners because it applies to an

insured submitting allegedly false information for the purposes of receiving insurance

benefits under a claim on a policy of insurance. Furthermore, this section of the Act cannot

apply to Auto Owners because it is not a person submitting allegedly false information on

behalf of an insured for the purposes of receiving insurance benefits under a claim on a

policy of insurance. This portion of the Act is clearly inapplicable, and the Plaintiff’s claims

for Auto Owners alleged violations of the Act must fail.

       The second pertinent part of the Act provides as follows:

       (a) Any person who commits, participates in, or aids, abets, or conspires to
       commit, or solicits another person to commit, or permits its employees or its
       agents to commit any of the following acts with an intent to induce reliance,
       has committed an unlawful insurance act:

              (2) Presents, causes to be presented, or prepares with knowledge or
              belief that it will be presented, to or by an insurer, insurance
              professional or a premium finance company in connection with an
              insurance transaction or premium finance transaction, any
              information that the person knows to contain false representations,
              or representations the falsity of which the person has recklessly
              disregarded, as to any material fact, or that withholds or conceals a
              material fact, concerning any of the following:




                                               6
                     (A) The solicitation for sale of any insurance policy or
                     purported insurance policy;

                     (B) An application for certificate of authority;

                     (C) The financial condition of any insurer; or

                     (D) The acquisition, formation,         merger,     affiliation   or
                     dissolution of any insurer;

Tenn. Code Ann. § 56-53-103(a)(2). This portion of the act is clearly inapplicable

because, while it does apply to “an insurer, insurance professional[,] or a premium finance

company …”, it only applies to the sale of an insurance policy or the solicitation for sale

of an insurance policy; an application for certificate of authority; the financial condition of

any insurer; or the acquisition, formation, merger, affiliation or dissolution of any insurer.

See Tenn. Code Ann. § 56-53-103(a)(2). The Plaintiff’s Complaint does not contain any

fact that would fall under any one of these four factual scenarios that could permit the

Plaintiff to pursue an allegation of the Act under the particular verbiage of the Act. The

Plaintiff’s Complaint is not related to the sale of an insurance policy, which is what this

section of the act typically applies to. Green v. Mut. of Omaha Ins. Co., No. 10-2487, 2011

U.S. Dist. LEXIS 3538, at *29 (W.D. Tenn. Jan. 13, 2011) (“Under Tennessee law, an

insurer that ‘[p]resents, causes to be presented, or prepares with knowledge or belief that

it will be presented’ in a solicitation for sale of an insurance policy ‘any information that

the [insurer] knows to contain false representations, or representations the falsity of which

the [insurer] has recklessly disregarded, as to any material fact, or that withholds or

conceals a material fact’ has committed an unlawful insurance act.”). Considering the

Plaintiff’s Complaint does not involve any alleged misrepresentations that induced a

person or persons to purchase an insurance policy, this portion of the Act is clearly




                                              7
inapplicable, and the Plaintiff’s claims for Auto Owner’s alleged violations of the Act must

fail. Considering the Plaintiff’s claims against Auto Owners for alleged violations of the

Act do not fall under any portion of the Act, all Plaintiff’s allegations regarding alleged

violations of the Act must be dismissed, with prejudice, as to Auto Owners.

                                      CONCLUSION

       For all reasons stated above and in Auto Owners Motion, Plaintiff’s claims as to

the alleged violation of the Unlawful Insurance Act (Tenn. Code Ann. § 56-53-103) should

be dismissed, with prejudice as any factual allegations, even if true, fail to come within

the scope of the Unlawful Insurance Act (Tenn. Code Ann. § 56-53-103). Accordingly,

Auto Owners seeks dismissal of Count V of Plaintiff’s Complaint.


                                          Respectfully submitted,

                                          RAINEY, KIZER, REVIERE & BELL, P.L.C.

                                          By: /s/ Bradford D. Box__________________
                                          BRADFORD D. BOX (BPR No. 16596)
                                          BLAKE M. TIMS (BPR No. 040511)
                                          Attorneys for Defendant
                                          209 East Main Street
                                          P. O. Box 1147
                                          Jackson, TN 38302-1147
                                          (731) 423-2414
                                          bbox@raineykizer.com
                                          btims@raineykizer.com




                                             8
                            CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a copy of this document was served upon
the following through e-mail, regular mail, and/or by hand-delivery to such person(s).

      Drayton Berkley, BPR No. 02261
      The Berkley Law Firm, PLLC
      1255 Lynnfield Road, Suite 226
      Memphis, TN 38119
      (901) 322-8706
      Attorney for Plaintiff

      Matthew Rogers (BPR No. 038777)
      Brewer, Krause, Brooks, Chastain & Meisner, PLLC
      545 Mainstream Drive, Suite 101
      Nashville, TN 37228
      (615) 256-8787
      Attorney for Defendant Michael Knight

      This the 15th day of June, 2023.


                                              /s/ Bradford D. Box_________________




                                          9
